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   9
                            UNITED STATES DISTRICT COURT
  10
                          CENTRAL DISTRICT OF CALIFORNIA
  11
                                  WESTERN DIVISION
  12
  13
       DISNEY ENTERPRISES, INC. et al.,       Case No. 16-cv-04109-AB (PLAx)
  14
                  Plaintiffs,                 STATUS REPORT PURSUANT TO
  15                                          IN CHAMBERS ORDER [DKT. 231]
            vs.                               REGARDING STATUS OF
  16                                          PROCEEDINGS FOLLOWING
       VIDANGEL, INC.,                        VIDANGEL’S FILING OF
  17                                          CHAPTER 11 BANKRUPTCY
                  Defendant.                  PETITION [DKT. 229]
  18
  19                                          Judge:        Hon. André Birotte Jr.
                                              Crtrm.:       7B
  20                                          Trial Date:   None Set
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                                                                     16-cv-04109-AB (PLAx)
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   1         Pursuant to the Court’s October 31, 2017 Order (Dkt. 231), the parties
   2 respectfully submit the following report regarding the status of proceedings
   3 following Defendant VidAngel, Inc.’s (“VidAngel”) filing of its Chapter 11
   4 bankruptcy petition on October 18, 2017. See In re VidAngel, Inc., Bankruptcy No.
   5 17-29073 (Bankr. D. Utah) (the “Utah Bankruptcy Action”).
   6
   7 UTAH DISTRICT COURT PROCEEDINGS:
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   9         On August 31, 2017, VidAngel filed a declaratory judgment action in the
  10 District of Utah naming multiple defendants, including three who were later named
  11 as Plaintiffs in this Court (MVL Film Finance, LLC, New Line Productions, Inc.
  12 and Turner Entertainment Co.), various of Plaintiffs’ corporate affiliates and
  13 distribution partners, and one unrelated entity. 1 See VidAngel, Inc. v. Sullivan
  14 Entm’t Grp., et al., No. 17-cv-00989 DN (D. Utah.) (the “Utah District Court
  15 Action.”).
  16         On October 26, 2017, all but one of the defendants in the Utah District Court
  17 Action (the “Moving Defendants”) moved to dismiss, transfer (to this Court), or stay
  18 the Utah District Court Action. (Utah Dkt. 58). That motion was fully briefed on
  19 December 11, 2017. (Utah Dkts. 91, 99). The Utah District Court has not yet
  20 scheduled oral argument or ruled on that motion. Moving Defendants have asked
  21 the Utah Court to hold a status conference on that motion. (Utah Dkt. 111).
  22
  23 UTAH BANKRUPTCY COURT PROCEEDINGS:
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  25         On November 8, 2017, the Plaintiffs herein (the “California Plaintiffs”)
  26 moved the Utah Bankruptcy Court to dismiss VidAngel’s bankruptcy petition as
  27
       1
      One of the distribution partners is MGM. VidAngel asserts that it did not sue
  28 MGM because it is one of Plaintiffs’ distribution partners.

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   1 having been filed or, in the alternative, to lift the automatic stay with respect to this
   2 Action. (Bankr. Dkt. 69). The Bankruptcy Court is holding that motion in abeyance
   3 pending the Utah District Court’s decision on the Moving Defendants’ motion to
   4 dismiss, transfer, or stay the Utah District Court Action. (Bankr. Dkt. 119).
   5         On February 14, 2018, the California Plaintiffs filed proofs of claim in the
   6 Bankruptcy Court based on the “damages, as alleged in the California Action, in an
   7 amount to be determined by the California District Court.” See, e.g., Disney
   8 Enterprises Inc. Proof of Claim at 2 (Bankr. Dkts. Claim 7).
   9         On February 15, 2018, VidAngel filed in the Bankruptcy Court an adversary
  10 complaint against the California Plaintiffs, seeking declaratory relief and the
  11 disallowance of those Plaintiffs’ claims. VidAngel’s adversary complaint also
  12 asserted against the California Plaintiffs the same claims for declaratory relief that
  13 VidAngel asserted in this Court, and that this Court dismissed without leave to
  14 amend. See Dkt. 199 at 18; No. 18-cv-00145-TS, Dkt. 2, at Ex. A (D. Utah).
  15         Also on February 15, 2018, VidAngel filed with the Utah District Court a
  16 motion to withdraw VidAngel’s adversary complaint from the reference to the
  17 Bankruptcy Court. See VidAngel, Inc. v. Disney Enters., Inc., No. 18-cv-00145-TS,
  18 Dkt. 2 (D. Utah). The California Plaintiffs will file their response to VidAngel’s
  19 motion to withdraw the reference on March 1, 2018.
  20
  21 PROCEEDINGS IN THIS MATTER:
  22
  23         Plaintiffs’ motion for summary judgment on liability (Dkt. 222) is currently
  24 stayed.
  25         On November 2, 2017, VidAngel filed its notice of appeal of this Court’s
  26 partial final judgment dismissing VidAngel’s second and third counterclaims (Dkt.
  27 232). On February 12, 2018, VidAngel filed its opening brief in the Ninth Circuit.
  28 Plaintiffs’ answer brief in the Ninth Circuit is due April 11, 2018.

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   1 DATED: February 28, 2018         MUNGER, TOLLES & OLSON LLP
   2
   3
                                      By: /s/ Kelly M. Klaus ___________________
   4                                      KELLY M. KLAUS
                                          Attorneys for Plaintiffs
   5
   6 DATED: February 28, 2018         BAKER MARQUART LLP
                                      DAVID QUINTO, VIDANGEL, INC.
   7
   8
   9                                  By: /s/ David Quinto ____________________
  10                                      DAVID QUINTO
                                          Attorneys for Defendant
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   1                              FILER’S ATTESTATION
   2        I, Kelly M. Klaus, am the ECF user whose identification and password are
   3 being used to file this STATUS REPORT PURSUANT TO IN CHAMBERS
   4 ORDER [DKT. 231] REGARDING STATUS OF PROCEEDINGS
   5 FOLLOWING VIDANGEL’S FILING OF CHAPTER 11 BANKRUPTCY
   6 PETITION [DKT. 229]. Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I hereby
   7 attest that the other above-named signatories concur in this filing.
   8
   9
       DATED: February 28, 2018
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  11
  12                                               /s/ Kelly M. Klaus
  13                                           KELLY M. KLAUS
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